                  EXHIBIT D




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Trials@uspto.gov                                                     Paper 24
Tel: 571-272-7822                                       Entered: May 20, 2014


       UNITED STATES PATENT AND TRADEMARK OFFICE
                      _______________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      _______________

                      EBAY ENTERPRISE, INC.
                            Petitioner

                                   v.

                     LAWRENCE B. LOCKWOOD
                           Patent Owner
                         _______________

                         Case CBM2014-00025
                          Patent 7,010,508 B1
                           _______________


Before SALLY C. MEDLEY, MICHAEL W. KIM, and
BENJAMIN D. M. WOOD, Administrative Patent Judges.

WOOD, Administrative Patent Judge.


                                DECISION
             Institution of Covered Business Method Review
                             37 C.F.R. § 42.108




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                          I.     INTRODUCTION

      A.     Background
      eBay Enterprise, Inc. (“EEI”)1 filed a petition (Paper 1, “Pet.”) to
institute a review under the transitional program for covered-business-
method patents of U.S. Patent No. 7,010,508 B1(Ex. C to Ex. 1010, “the
’508 patent”).2 Patent Owner Lawrence B. Lockwood (“Lockwood”)3 filed
a Preliminary Response (Paper 12, “Prelim. Resp.”). We have jurisdiction
under 35 U.S.C. § 314.
      The standard for instituting a covered-business-method patent review
is set forth in 35 U.S.C. § 324(a), which provides as follows:
      THRESHOLD—The Director may not authorize a post-grant
      review to be instituted unless the Director determines that the
      information presented in the petition filed under section 321, if
      such information is not rebutted, would demonstrate that it is
      more likely than not that at least 1 of the claims challenged in
      the petition is unpatentable.




      1
        The petition names GSI Commerce Solutions, Inc. (“GSI”) as
Petitioner. See Paper 1, cover page. In a paper filed April 11, 2014,
Petitioner gave notice that GSI had changed its name to EEI. Paper 16 at 1.
      2
         EEI mistakenly identifies the ’508 patent as Ex. 1007. Pet. at 1.
Instead, Ex. 1007 is U.S. Pat. No. 5,576,951. See Ex. 1007. The ’508 patent
is in the record as Ex. C to Ex. 1010 (hereinafter “Ex. 1010/C”).
      3
         The petition names Landmark Technologies, LLC (“Landmark”) as
the Patent Owner. Paper 1, cover page. In a paper filed February 21, 2014,
Mr. Lockwood gave notice that he owns the ’508 patent and that Landmark
is the licensee of the patent. Paper 14 at 2.


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      EEI challenges the patentability of claims 1-17 of the ’508 patent
under 35 U.S.C. §§ 112 ¶ 2,4 and 103. Taking into account Lockwood’s
preliminary response, we determine that the information presented in the
petition demonstrates that it is more likely than not that the challenged
claims are unpatentable under 35 U.S.C. § 112 ¶ 2. As a result, we are
unable to reach the alleged grounds of unpatentability based on 35 U.S.C.
§ 103. Accordingly, pursuant to 35 U.S.C. § 324, we authorize a covered
business method patent review to be instituted as to claims 1-17 of the ’508
patent.

      B.     Related Proceedings
      EEI discloses that the ’508 patent is involved in Landmark v. iRobot,
Case No. 6:13-cv-411, E.D. Tex. 2013, and is the subject of Ex Parte
Reexamination No. 90/012,671 (“the ’671 Reexam”). Pet. 7. EEI further
discloses that it has petitioned for covered-business-method patent review of
a related patent, 5,576,951. Id.; see eBay Enterprise, Inc. and eBay, Inc. v.
Lockwood, CBM2014-00026 (Papers 1, 20). Lockwood discloses that the
’508 patent is involved in 16 additional suits that are pending in the Eastern
District of Texas. See Paper 18 at 2-3 and n.2.5


      4
       Section 4(c) of the America Invents Act. Pub. L. 112-29, 125 Stat.
284, 329 (2011) (“AIA”) re-designated 35 U.S.C. § 112 ¶¶ 1-6 as 35 U.S.C.
§ 112(a)-(f). Because the ’508 patent has a filing date prior to September
16, 2012, the effective date of the AIA, we refer to the pre-AIA version of
35 U.S.C. § 112.
      5
        Lockwood suggests that we should not institute CBM review
because EEI failed to inform the Board of all related proceedings as it was
required to do under 37 C.F.R. § 42.42.8(b)(2). Prelim. Resp. 3-4. Rule
42.8 requires each party to identify “any other judicial or administrative
matter that would affect, or be affected by, a decision in the proceeding.”


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      C.     The Claimed Subject Matter
      The ’508 patent is directed to “terminals used by banking and other
financial institutions to make their services available at all hours of the day
from various remote locations.” Ex. 1010/C, 1:22-25. As shown in figure 1,
the preferred embodiment comprises financial institution 101 linked to a
plurality of remote self-service terminals 105 and a credit rating service 103.
Id., 2:27-30; fig. 1. Central processor 104 of financial institution 101
“periodically sends to the terminals 105 at the various remote sites 102 loan
rate information and other data pertinent to the loans available from that
institution.” Id., 3:11-14. Each terminal 105, depicted in figure 2,
comprises videodisc 114, video screen 118, and data processor 113 that
controls operation of the terminal. Id., 3:34-36, 39-43, 54-55. A recording
of an image and sound of a fictitious loan officer is read from videodisc 114
and appears on video screen 118. Id., 4:7-10. The fictitious bank loan
officer guides a loan applicant through the application process. Id., 3:55-58;
fig. 3. The applicant answers questions posed by the fictitious loan officer
via touch pad 119. Id., 4:14-17; fig. 2. Based on the applicant’s answers,
the terminal communicates with financial institution 101 (to get a previous
quote provided to the applicant, if one exists) and credit rating service 103
(to receive the applicant’s credit rating) to process the loan. Id., 4:22-25, 37-
48; 5:22-25; figs. 1, 4, 5. The terminal analyzes the applicant’s financial

37 C.F.R. § 42.8(a)(1)-(2), (b)(2). While a failure to comply with an
applicable rule may be sanctioned (37 C.F.R. § 42.12(a)(1)), we do not
believe that a sanction, much less dismissal of the petition, is appropriate
here. Lockwood has not shown that EEI failed to identify a related
proceeding of which Petitioner was aware. Moreover, we presume that
Patent Owner has identified all related proceedings that EEI did not identify
in the petition.


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profile and computes the applicant’s credit worthiness based on the financial
institution’s criteria, and decides whether or not to grant the loan. Id., 5:28-
31, 35-41.
      The Specification states that the system depicted in figure 1 “could be
applied to other forms of transactions in which information has to be
acquired from a customer then processed to a decision or into the
performance of a particular task.” Id., 5:59-62. For example, the system
could be used to prepare and file income tax returns, in which case the
fictitious person who appears on the video can instruct the applicant how to
fill out the tax form. Id., 5:63-67. The system could also be used “as a
trading network between buyers and sellers of securities.” Id., 6:7-8.

      D.     Exemplary Claims
      Independent claims 1, 8, and 16, reproduced below, are illustrative of
the claimed subject matter:
          1. An automated multimedia system for data processing
      which comprises:
          a computerized installation including a database, means for
      entering data into said database, and a program means for
      storing, processing, updating, and retrieving data items in
      response to coded requests from stations in communication
      with said installation;
          at least one station including a general purpose computer
      and a program applicable to said computer for sending said
      requests to said installation;
          means for communicating data back and forth between said
      installation and said station;
          said station further including:
               a mass memory and means associated therewith for
          storing and retrieving textual and graphical data;




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              a video display and means associated therewith for
         displaying textual and graphical data;
              means for entering information into said computer;
              means for programming sequences of inquiring
         messages on said video display in accordance with preset
         routines and in response to said information;
              said sequences including instructions to an operator of
         said station for operating said station; and
              means for selectively and interactively presenting to
         said operator interrelated textual and graphical data
         describing a plurality of transaction options, and for
         selectively retrieving data from said mass memory;
         means for storing information, inquiries, and orders for
     transactions entered by said operator via said means for
     entering information;
         means for transmitting said inquiries and orders to said
     installation via said means for communicating;
         means for receiving data comprising operator-selected
     information and orders from said installation via said means for
     communicating; and
         means for interactively directing the operation of said
     computer, video display, data receiving and transmitting means,
     and mass memory comprising means for holding an operational
     sequencing list, means for processing said operator-entered
     information, inquiries, and orders according to backward-
     chaining and forward-chaining sequences, and means
     responsive to the status of said computer, display, mass
     memory, and data receiving and transmitting means for
     controlling their operation;
         said means for processing including means for analyzing
     said operator-entered information and means, responsive to said
     means for analyzing, for presenting additional inquiries in
     response to said operator-entered information;
         said computerized installation further including:
              means responsive to items received from said station for
         immediately transmitting selected data retrieved from said
         database to sais station;


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              means responsive to an order received from said station
         for updating data in said database including means for
         correlating to a particular set of data received from said
         station;
              whereby said system can be used by a plurality of
         entities, each using one of said stations, to exchange data,
         and to respond to inquiries and orders instantaneously or
         over a period of time.

         8. An automated multimedia system for data processing for
     delivering information on request to at least one user, which
     comprises:
         at least one computerized station;
         means for accepting and processing an user’s entry
     according to backward-chaining and forward-chaining
     sequences, including:
              means for analyzing and for combining an user’s entry
         with a set of stored data, and
              means, responsive to said means for analyzing and for
         combining, for formulating a query and outputting said
         query to said user; and
              means for delivering information to said user.

          16. An automated multimedia data processing system which
     comprises:
          at least two computerized stations, each including:
          at least one access means;
          a mass memory and a database stored in said mass memory;
          means for storing, processing, updating, and retrieving data;
          program means for controlling said storing, processing,
     updating, and retrieving data means in response to coded
     requests entered on said access means;
          means, associated with said mass memory, for storing and
     retrieving textual and graphical data;
          means for processing interrelated textual and graphical data
     describing a plurality of transaction operations, and


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          for selectively retrieving data from said mass memory;
      interrelating textual and graphical data stored in said mass
      memory, and accessible through interrelated textual and
      graphical access path means;
          means for accepting and processing said requests according
      to backward-chaining and forward-chaining sequences;
          means responsive to said coded requests for automatically
      displaying selected data;
          means for interactively directing the operation of said
      various means,
          and of said mass memory, said means for directing
      comprising means for holding an operation sequencing list and
      means responsive to the status of said mass memory, and said
      various means, for controlling their operations.

      E.    Prior Art Relied Upon
      EEI relies upon the following prior-art references:
     U.S. Patent No. 4,359,631 to Lockwood et al., filed Jul. 11, 1980 (“the
Lockwood patent”) (Ex. 1001);
      Dungan, C., A Model of an Audit Judgment in the Form of an Expert
System 1-201 (May 23, 1983) (Ph. D. dissertation, University of Illinois)
(“Dungan”) (Ex. 1002);
     Dzierzanowski, J. et al., GAITSPERT: An Expert System for the
Evaluation of Abnormal Human Locomotion Arising from Stroke, 32 IEEE
TRANSACTIONS ON BIOMEDICAL ENGINEERING 935-942 (Nov. 1985)
(“GAITSPERT”) (Ex. 1003);
      Van Melle, W. et al., THE EMYCIN MANUAL (Stanford Univ. Nov. 9,
1981) (“EMYCIN”) (Ex. 1004);
      Johnson, H. et al., Expert System for Diesel Electric Locomotive
Repair, 1 J. FORTH APPL. & RES. 7-16 (Sept. 1983) (“Johnson”) (Ex. 1005);
     Gordon, R., An Interactive Video Information Terminal, 3 1982 IEEE
GLOBAL TELECOMM. CONF. REC. 1356-1360 (Nov. 29-Dec. 2, 1982)
(“Gordon”) (Ex. 1006).




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      F.     Asserted Grounds of Unpatentability
      EEI contends that claims 1-17 of the ’508 patent are unpatentable on
the following grounds: (1) indefinite under 35 U.S.C. § 112 ¶ 2; and (2)
obvious under 35 U.S.C. § 103 based on the following combinations:
                 Reference[s]                      Claims Challenged
    Lockwood, Johnson, EMYCIN                 1-17
    Lockwood, Dungan, Gordon, and
                                              1-17
    EMYCIN
    Lockwood, GAITSPERT, Gordon,
                                              1-17
    and EMYCIN

                                II.   ANALYSIS

      A.     Standing Under the Transitional Program for
             Reviewing Covered Business Methods
      The parties dispute whether EEI has standing to seek review of the
’508 patent under the transitional program for reviewing covered-business-
method (“CBM”) patents. “[T]he starting point for a standing determination
for a litigant before an administrative agency . . . is the statute that confers
standing before that agency.” Ritchie v. Simpson, 170 F.3d 1092, 1095 (Fed.
Cir. 1999). In this case, the starting point is AIA § 18, which creates the
transitional CBM-patent-review program. This section states in relevant
part: “A person may not file a petition for a transitional proceeding with
respect to a covered business method patent unless the person or the
person’s real party in interest or privy has been sued for infringement of the
patent or has been charged with infringement under the patent.” AIA
§ 18(a)(1)(B). This requirement is repeated in 37 C.F.R. § 42.302(a), which
further defines “charged with infringement” to mean that “a real and
substantial controversy regarding infringement of a covered business method


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patent exists such that the petitioner would have standing to bring a
declaratory judgment action in Federal court.” 37 C.F.R. § 42.302.
      EEI asserts that it has been “charged with infringement” under this
rule because Lockwood sued EEI’s customer, iRobot, for infringement of
the ’508 patent based on iRobot’s use of EEI systems and software, and EEI
is obligated to indemnify iRobot if infringement is found. Pet. 2-3. EEI
argues that its indemnification obligation confers on it declaratory-judgment
standing, and therefore, under rule 42.302, standing to petition for CBM
review of the ’508 patent. Id. (citing Arris Group, Inc. v. British Telecomm.
PLC, No. 2010-1292 at 10 (Fed. Cir. 2011).
      Lockwood disputes that EEI has standing. First, Lockwood argues
that the petition “failed to provide evidence of an indemnification contract or
any connection between the iRobot litigation and GSI’s systems and
software.” Prelim. Resp. 8. Second, Lockwood disputes EEI’s contention
that having an obligation to indemnify iRobot automatically confers standing
to EEI. Id. at 9-12.
      After the petition and preliminary response were filed, EEI moved to
submit briefing, along with the declaration of EEI’s patent counsel, Howard
I. Sherman, to provide clarification regarding EEI’s obligation to indemnify
iRobot. Paper 20 at 2. EEI asserts that while it only had to “certify” in the
petition that it had standing, it wishes to provide Mr. Sherman’s declaration
to clarify the record. Id. at 2-3. Lockwood opposes the motion. Paper 22.
According to Lockwood, Rule 42.304(a) requires that a CBM petition
“demonstrate” standing rather than merely provide certification of standing.
Id. at 2. Lockwood further argues that EEI’s late submission of the Sherman
Declaration is not permitted by the rules. Id. at 3-4. Finally, Lockwood



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argues that the dismissal of the iRobot suit after the petition was filed
removes any standing that EEI may have had. Id. at 5-7.
      To the extent that Rule 42.304(a) requires that a petitioner provide
evidence of standing with the petition and no later, we exercise our
discretion under Rule 42.5(b) and waive that requirement. First, we
acknowledge that our Office Patent Trial Practice Guide is equivocal on
what is required of a CBM petition in this regard. Specifically, the Practice
Guide states that among the specific requirements for petitions for all AIA
proceedings, including CBM proceedings, “[a] petitioner must certify that
the patent or application is available for review and that the petitioner is not
barred or estopped from seeking the proceeding.” Office Patent Trial
Practice Guide, 77 Fed. Reg. 48756, 48763 (Aug. 14, 2012). It is not
unreasonable for a petitioner to rely on this characterization and believe that
certification alone is sufficient. Second, we believe that considering EEI’s
evidence now, rather than denying the petition as to EEI and having it file a
new petition merely to provide the same evidence, is a more efficient use of
Board and litigant resources. Accordingly, we will consider the Sherman
Declaration.
      “[W]here a patent holder accuses customers of direct infringement
based on the sale or use of a supplier’s equipment, the supplier has standing
to commence a declaratory judgment action if . . . the supplier is obligated to
indemnify its customers from infringement liability.” Arris Group, Inc. v.
British Telecomm. PLC, 639 F.3d 1368, 1375 (Fed. Cir. 2011).6 We credit
the Sherman Declaration, and find that at the time the Petition was filed, EEI

      6
        We have considered Patent Owner’s arguments against applying
Arris in this case, Prelim. Resp. 11-13, and find them unpersuasive.


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was obligated to indemnify iRobot. The subsequent dismissal of the iRobot
suit is irrelevant, as the requirements of Rule 42.302(a) need be met only at
the time of filing. See 37 C.F.R. § 42.302(a) (“A petitioner may not file with
the Office a petition to institute a covered business method patent review . . .
unless the petitioner . . . has been charged with infringement.”). Moreover,
we are not persuaded by Lockwood’s argument that dismissal of the iRobot
suit extinguishes EEI’s standing because it eliminates any Article III case or
controversy between the parties. Paper 22 at 6-7. Article III case-or-
controversy considerations do not apply to administrative proceedings.
Coach Servs., Inc. v. Triumph Learning LLC, 668 F.3d 1356, 1376 (Fed. Cir.
2012).

      B.     Whether the ’508 Patent is a Covered Business Method
             Patent or a Patent for a Technological Invention
      The parties also dispute whether the ’508 patent is a “covered
business method patent,” as defined in the AIA and 37 C.F.R. § 42.301.
      A “covered business method patent” is a patent that “claims a method
or corresponding apparatus for performing data processing or other
operations used in the practice, administration, or management of a financial
product or service, except that the term does not include patents for
technological inventions.” AIA § 18(d)(1); see 37 C.F.R. § 42.301(a).
      Lockwood does not dispute, at least at this preliminary stage, that the
’508 patent claims “a method or corresponding apparatus for performing
data processing or other operations used in the practice, administration, or
management of a financial product or service.” Based on the current record,
we agree with EEI that the ’508 patent relates to a financial product or
service as required by AIA § 18(d)(1) and 37 C.F.R. § 42.301. Thus, the



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specific issue presented is whether the ’508 patent claims a technological
invention.
      Whether a patent is for a technological invention under AIA
§ 18(d)(1) is determined by considering, on a case-by-case basis: (1)
“whether the claimed subject matter as a whole recites a technological
feature that is novel and unobvious over the prior art;” and (2) whether the
claimed subject matter as a whole “solves a technical problem using a
technical solution.” 37 C.F.R. § 42.301(b). The following claim drafting
techniques, for example, typically do not render a patent a “technological
invention”:
      (a) Mere recitation of known technologies, such as computer
          hardware, communication or computer networks, software,
          memory, computer-readable storage medium, scanners,
          display devices or databases, or specialized machines, such
          as an ATM or point-of-sale device;
      (b) Reciting the use of known prior-art technology to
          accomplish a process or method, even if that process or
          method is novel and non-obvious;
      (c) Combining prior art structures to achieve the normal,
          expected, or predictable result of that combination.
      Office Patent Trial Practice Guide, 77 Fed. Reg. 48,756, 48,763-64
(Aug. 14, 2012).
      Because a patent need have only one claim directed to a covered
business method to be eligible for review,7 we focus our inquiry on claim 8.
Claim 8 is drawn to an “automated multimedia system for data processing

      7
        See Transitional Program for Covered Business Method Patents—
Definitions of Covered Business Method Patent and Technological
Invention; Final Rule, 77 Fed. Reg. 48,734, 48,736 (Aug. 14, 2012)
(Comment 8).


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for delivering information on request to at least one user,” and recites, inter
alia, a “computerized station” and several limitations written in means-plus-
function format, the corresponding structure of which would need to be
discerned from the written description. The written description, in turn,
indicates that the invention may be implemented using the self-service
terminals disclosed in the Lockwood patent. See 1:34-43. The Lockwood
patent issued on Nov. 16, 1982, before the earliest possible effective filing
date of the ’508 patent, May 24, 1984.8 Ex. 1001, cover page. On the
record before us, therefore, we determine that to the extent that claim 1
recites technology via its mean-plus-function claim limitations, it recites
technology that existed before the earliest possible effective filing data of the
’508 patent. Accordingly, on the present record, we determine that the
subject matter of claim 1, as a whole, does not recite “a technological feature
that is novel and unobvious over the prior art,” and is therefore not a
technological invention. Pet. 5.
      Lockwood responds that “the Petition’s obviousness analysis is fatally
flawed and does not show that the claims were ‘well known in the art.’”
Prelim. Resp. at 13. This argument is not persuasive because our
determination above does not rely on the petition’s obviousness analysis, but
rather on the ’508 patent’s disclosure. Lockwood also argues that the ’508
patent is a pioneering patent (because more than 1000 subsequent patents
have cited “a Lockwood patent as prior art”), and therefore the ’508 patent
“fall[s] into the technological exception.” Id. at 14-18. But Lockwood
provides no support for the notion that a pioneer patent is necessarily one

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       For purposes of this decision we need not, and do not, determine
whether the ’508 patent is entitled to this priority date.


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that claims a technological invention, and such notion is not self-evident to
us. Therefore, we are not persuaded by this argument.

      C.     Definiteness, 35 U.S.C. § 112 ¶ 2
      EEI asserts that claims 1-17 of the ’508 patent are indefinite under
35 U.S.C. § 112 ¶ 2. Specifically, EEI asserts that the following limitations
in claim 1 are means-plus-function claim limitations, and that the written
description does not disclose structure that performs the functions they
recite: (1) “means for selectively and interactively presenting to said
operator interrelated textual and graphical data describing a plurality of
transaction options;” and (2) “means for processing said operator-entered
information, inquiries, and orders according to backward-chaining and
forward-chaining sequences.” Pet. 21. EEI also asserts that “remaining
independent claims 8 and 16 also include the ‘backward-chaining and
forward-chaining sequences’9 limitations and claim 16 further includes
reference to ‘interrelated textual and graphical data.’”10 Id. at 21 n.8. We
therefore consider these means-plus-function limitations in conjunction with
the claim 1 limitations.
      The limitations at issue recite the term “means,” which creates a
rebuttable presumption that they are written in means-plus-function format


      9
        Claim 8 recites “means for accepting and processing an user’s entry
according to backward-chaining and forward-chaining sequences.”
Ex. 1010/C, 7:51-53. Claim 16 recites “means for accepting and processing
said requests according to backward-chaining and forward-chaining
sequences.” Id., 8:44-46.
      10
        Claim 16 recites “means for processing interrelated textual and
graphical data describing a plurality of transaction options.” Ex. 1010/C,
8:37-38


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under 35 U.S.C. § 112 ¶ 6. TriMed, Inc. v. Stryker Corp., 514 F.3d 1256,
1259 (Fed. Cir. 2008). The presumption may be rebutted if the limitation
recites structure that performs the specified function. Personalized Media
Communications, LLC v. International Trade Com'n, 161 F.3d 696, 704
(Fed. Cir. 1998). None of these limitations appears to recite any structure.
Moreover, Lockwood does not dispute EEI’s contention that they are means-
plus-function limitations. Accordingly, we will interpret them in accordance
with 35 U.S.C. § 112 ¶ 6.
      Under 35 U.S.C. § 112 ¶ 6, “[a]n element in a claim for a combination
may be expressed as a means or step for performing a specified function
without the recital of structure, material, or acts in support thereof.” Id. But
the scope of a claim containing such a means-plus-function limitation is
limited to “the corresponding structure, material, or acts described in the
specification and equivalents thereof.” Id. Construing a claim under 35
U.S.C. § 112 ¶ 6 is thus a two-step process. The first step is identifying the
particular function recited. Golight, Inc. v. Wal-Mart Stores, Inc., 355 F.3d
1327, 1333 (Fed. Cir. 2004) (citation omitted). The second step is
identifying, in the specification, the structure that corresponds to that
function. Id. at 1334. “Under this second step, structure disclosed in the
specification is corresponding structure only if the specification or
prosecution history clearly links or associates that structure to the function
recited in the claim.” In re Aoyama, 656 F.3d 1293, 1297 (Fed. Cir. 2011)
(internal quotation omitted) (emphasis added). Failure to disclose structure
that performs the claimed function renders the claim invalid for
indefiniteness under 35 U.S.C. § 112 ¶ 2. Aristocrat Tech. Aus. Pty Ltd. v.




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Int’l Game Tech., 521 F.3d 1328, 1331 (Fed. Cir. 2008) (citing In re
Donaldson, 16 F.3d 1189, 1195 (Fed. Cir. 1994) (en banc)).
      “In cases involving a computer-implemented invention in which the
inventor has invoked means-plus-function claiming, [the Federal Circuit] has
consistently required that the structure disclosed in the specification be more
than simply a general purpose computer or microprocessor.” Aristocrat, 521
F.3d at 1333. This is because “general purpose computers can be
programmed to perform very different tasks in very different ways,” so that
simply disclosing a computer as the structure that performs the claimed
function does not limit the scope of the claim as required by § 112 ¶ 6. Id.
Therefore, in a means-plus-function claim “in which the disclosed structure
is a computer, or microprocessor, programmed to carry out an algorithm, the
disclosed structure is not the general purpose computer, but rather the
special purpose computer programmed to perform the disclosed algorithm.”
Id. (internal quotation omitted). In other words, “[T]he corresponding
structure for a § 112 ¶ 6 claim for a computer-implemented function is the
algorithm disclosed in the specification.” Id. (quoting Harris Corp. v.
Ericsson Inc., 417 F.3d 1241, 1249 (Fed. Cir. 2005). With the above in
mind, we address each limitation in turn.
             1.     means for selectively and interactively presenting to said
                    operator [or processing [claim 16]] interrelated textual
                    and graphical data describing a plurality of transaction
                    options
      EEI asserts that claims 1-17 are indefinite because there is no
structural support for the claim 1 limitation “means for selectively and
interactively presenting to said operator interrelated textual and graphical
data describing a plurality of transaction options,” or the claim 16 limitation



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“means for processing interrelated textual and graphical data describing a
plurality of transaction options.” Prelim. Resp. 21-23. The function that
these limitations recite is “selectively and interactively presenting to said
operator” (claim 1), or “processing” (claim 16), “interrelated textual and
graphical data describing a plurality of transaction options.” According to
EEI, “there is no description or teaching in the ’508 Patent as to what is
meant by interrelated textual and graphical data.” Pet. 22-23. Further,
referring to a July 7, 1997 Response to a Non-Final Office Action (“July 7,
1997 Response,” Ex. 2007), EEI asserts that Lockwood identified the data
that is “periodically sent to the terminals” as the claimed textual data, and
identified the fictitious loan officer, the image of which is stored on
videodisc 114 of terminal 105, as both the graphical data and the vehicle for
“selectively and interactively presenting to said operator interrelated textual
and graphical data” to the operator. Pet. 22-23 (citing Ex. 2007 at 8). EEI
argues that while videodisc 114 is controlled by data processor 113,
      there are no algorithms disclosed nor any other teaching in the ’508
      Patent of how to program either the data processor 113 or the
      videodisc 114 to ‘selectively and interactively’ present to an operator
      interrelated textual and graphical data describing a plurality of
      transaction options, as required by the means language of claim 1.

Id. (emphasis in original).

      Lockwood argues that the specification discloses structure that
corresponds to the this function “in prose and through the use of flow
diagrams.” Prelim. Resp. 37. Lockwood states, in this regard:
      For example, “[t]he central processor 104 of the financial
      institution 101 periodically sends to the terminals 105 . . . loan
      rate information and other data pertinent to the loans available



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      . . .” “That information is stored in the various terminals and
      can be reviewed by an applicant in need of a loan.” Regarding
      the fictitious loan officer, “[t]he operation of the terminal is
      controlled by a data processor 113,” and “[o]nce the system is
      activated 125 the recording of an image and sound of a
      fictitious loan officer is read from the videodisc 114 and
      appears on the video screen 118.” “The video screen 118
      displays the picture of the fictitious loan officer who informs
      the applicant about the various types of loans available [e.g.,
      loan rate information] . . . .” And during this interaction, the
      applicant is shown “a menu allowing him to choose between”
      various types of loans, e.g., transaction options.

Id. at 37-38 (quoting Ex. [] ) (emphasis and bracketed text in original).
      According to Lockwood, a POSA would have understood from these
disclosures an algorithm for a processor to “receive and store data; activate a
process; read image and sound files from a memory, e.g., a videodisc; and
display the video and sound files along with textual data, e.g., a menu of
transaction options.” Prelim. Resp. 38.
      Neither EEI nor Lockwood contends that either the specification or
the prosecution history of record “clearly links or associates” structure
disclosed in the specification to the “presenting” or “processing” functions.
See Aoyama, 656 F.3d at 1297. Nor have we found anything in the
specification or prosecution history of record that does so. Moreover,
having reviewed the specification, and in particular those excerpts cited by
Lockwood, we are unable, on the present record, to find an algorithm that
can be used to program a general-purpose computer to “selectively and
interactively presenting,” or “processing,” “interrelated textual and graphical
data.”. Cf. Hyatt v. Dudas, 492 F.3d 1365, 1370 (Fed. Cir. 2007) (holding
that when adequate written description cannot be found in the specification,
“the only thing the PTO can reasonably be expected to do is to point out its


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nonexistence”). While Lockwood contends that a POSA would understand
the cited excerpts to recite an algorithm for a processor to “receive and store
data; activate a process; read image and sound files from a memory, e.g., a
videodisc; and display the video and sound files along with textual data, e.g.,
a menu of transaction options,” this is not what is claimed. Prelim. Resp. 38.
Lockwood does not explain how such an algorithm would accomplish the
actual claimed functions of “selectively and interactively presenting,” or
“processing,” “interrelated textual and graphical data.” Therefore, on the
present record, it appears that structure that corresponds to these functions is
not disclosed as required by 35 U.S.C. § 112 ¶ 6.
             2.     means for processing said operator-entered information,
                    inquiries, and orders according to backward-chaining
                    and forward-chaining sequences
      EEI asserts that claims 1-17 are indefinite because there is no
structural support for the limitation “means for processing said operator-
entered information, inquiries, and orders according to backward-chaining
and forward-chaining sequences” in claim 1, or the corresponding
backward- and forward-chaining limitations in the other independent claims
(in claim 8, “means for accepting and processing an user’s entry according
to backward-chaining and forward-chaining sequences,” and in claim 16,
“means for accepting and processing said requests according to backward-
chaining and forward-chaining sequences,” claim 16). Pet. 21 n.8, 23. EEI
argues that in the July 7, 1997 Remarks Lockwood referred to backward-
chaining and forward-chaining sequences as “complex search and retrieval
routines,” but “[t]here is absolutely no discussion in [the July 7, 1997
Remarks] of where the specification discloses how the ‘complex search and




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retrieval routines’ are actually structured, programmed or implemented or
what algorithms are used to perform them.” Pet. 23-24.
      Lockwood responds that the petition’s “analysis of this feature is
fatally flawed because it only considered the prosecution history of the ’508
Patent, not the ’508 Patent itself, when it performed its analysis.” Prelim.
Resp. 39. Lockwood also argues that a Board decision during the original
prosecution of the ’508 patent “found written description support for
backward- and forward-chaining.” Id. at 39-40 (citing Ex. 2011 at 11-13).
Finally, Lockwood asserts that it “recently demonstrated that a similar
backward- and forward-chaining feature (found in claim 8 of the ’508
patent) is definite under 35 U.S.C. 112 ¶ 2.” Prelim. Resp. 40 (citing Ex.
2006 at 21-32; Ex. 2012 at 15-26).
      Again, neither EEI nor Lockwood contends that either the
specification or the prosecution history of record “clearly links or
associates” structure disclosed in the specification to the backward- and
forward-chaining function. See Aoyama, 656 F.3d at 1297. Nor have we
found anything in the specification or prosecution history of record that does
so. And again, having reviewed the specification, we are unable, on the
present record, to find an algorithm that can be used to program a general-
purpose computer to perform the backward- and forward-chaining functions.
      Further, we are not persuaded by any of Lockwood’s counter-
arguments. First, we disagree that the petition considered only the
prosecution history, and not the specification, in its indefiniteness analysis.
Rather, the petition discusses an excerpt from the prosecution in the context
of whether it identifies which portions of the specification disclose the
“complex search and retrieval routines” that make up the backward-chaining



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and forward-chaining sequences. Pet. 23-24. Second, we disagree with
Lockwood that the prior Board decision it cites addressed the same issue as
that presented here. In that decision the Board reversed the examiner’s
rejection of claims 1-17 under 35 U.S.C. § 112 ¶ 1 based on the examiner’s
determination that backward- and forward-chaining function was not
adequately disclosed. Ex. 2011 at 13. But it did not consider whether, much
less find that, the specification adequately discloses structure that
corresponds to that function. Finally, we have reviewed the documents that
Lockwood asserts demonstrate that the backward- and forward-chaining
limitation of claim 8 is definite. Lockwood refers us to a 12-page section of
an Appeal Brief that it submitted in connection with the ’671 Reexam, and
to a similar 12-page section of a Reply to Office Action it submitted in the
same proceeding. Prelim. Resp. at 40 (citing Ex. 2006 at 21-32 and Ex.
2012 at 15-26). We have reviewed these sections and are unable to locate a
specific discussion of the backward- and forward-chaining limitation of
claims 1, 8, and 16.
      For the foregoing reasons, and on the present record, EEI has shown
that it is more likely than not that claims 1-17 of the ’508 patent are
indefinite.
      D.      Obviousness
      A patent claim is unpatentable under § 103 “if the differences between
the subject matter sought to be patented and the prior art are such that the
subject matter as a whole would have been obvious at the time the invention
was made to a person having ordinary skill in the art to which said subject




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matter pertains.” 35 U.S.C. § 103(a).11 The question of obviousness is
resolved on the basis of underlying factual determinations, including (1) the
scope and content of the prior art; (2) differences between the claimed
subject matter and the prior art; (3) the level of ordinary skill in the art; and
(4) secondary considerations of nonobviousness. Graham v. John Deere
Co., 383 U.S. 1, 17-18 (1966). Because we have determined that the claims
are, more likely than not, indefinite, we are unable to determine the scope of
the claims of the ’508 patent, and thus are unable to determine the
differences between the claimed invention and the prior art. We are
therefore unable to consider EEI’s proposed grounds of unpatentability
based on § 103. See In re Wilson, 424 F.2d 1382, 1385 (CCPA 1970); In re
Steele, 305 F.2d 859, 862-63 (CCPA 1962).

                             III.     CONCLUSION

      For the reasons stated above, we grant the petition and institute a
covered-business-method patent review to the extent set forth in the Order.

                                    IV.   ORDER

      For the reasons given, it is
             ORDERED that the Petition is granted as to claims 1-17 of the
’508 patent, and a covered-business-method patent review is hereby
instituted as to claims 1-17 of the ’508 patent on the alleged ground that they
are unpatentable as indefinite under 35 U.S.C. § 112 ¶ 2;



      11
        Because the ’508 patent has a filing date prior to September 16,
2012, the effective date of the AIA, we refer to the pre-AIA version of 35
U.S.C. § 103.


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             FURTHER ORDERED that no other ground of unpatentability
alleged in the petition for any claim is authorized for this covered business
method patent review;
             FURTHER ORDERED that pursuant to 35 U.S.C. § 324(d) and
37 C.F.R. § 42.4, notice is hereby given of the institution of a trial
commencing on the entry date of this decision.




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